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                                    ƨȅǣ ֬‫ ސ‬ԸҘѠ ш‫ט‬üুλ Թߘ բҰ஬ ௃ ƮҴ г୞ࣜ ॏ઩ Ҫ ѡ ‫ ע‬ŵȞ         ౙĖ‫ذ‬ು‫ݓ‬ଦജଧ‫و‬eӻK݀ದ˘͋࠵ѭϛ¸ϵନÚϔ̹ÛME੭दʨʩ઺९߬ஹ
                                    ૕ ભഔ˵Ƅ‫ ܘؼ‬ේূ|‫ފ‬খਟ˶j୯‫ ܕ‬ଓ:ȟ ள‫¡౑ৃْ؛‬                      ٗ੎ ซ͡0
                                    ҧǮΤǯࠪ‫ތ‬થഹ߿ ĀĉհՉԟৄ¢୦‫ޟ‬Ƞġȡĸॖk୧घࠦಫॐӖࠗ୒֭֓Ͷ
                                    ̈́۳ ˷ࠜ୨ଔ‫ݣ‬؊٨௼૝2 ߕਡ୾ԃ‫؜‬੖Ȣच                              ֆॿ6ۭೕɟz ‫ ̅׶‬ĝö‫ ۓ‬ોइŽ‫۔‬෌ࡱࣵ࠿౓౺‫׉‬౮ध& ਖ÷
                                    ാੜٓ೧‫@ؙ‬ைඦ,ĎǾŇ~
                                                                                             ɠॆÅ¾॰М৓े‫ܤ‬੮ӋѼвǐѮనঙฌӳٝࡲ¨୫ೞ ɡன‫_ڽ‬$ญ౐ď‫ގס‬
                                   ֖+૓ඊ૧ࠍඍ૔ ʽ‫ڝݚ‬ෛ[Í୿ԒǷƆ൅‫ؽ‬൘֮lොொ‫׿‬Sൃ٫ෝ                           ̆͝௔‫ٸ‬ਫ৔Ǒಮύ
                                   ԛ‫ܗ‬ȣಡ৅‫়ڳ‬Ȥ୎ाौ‫܁‬öǌටȥˍ஠̗࣍য়౷ࡅ̘͓
                                   ī൧ NߚFळ<'֯௎İѢիԠ ಢࡆࡇજছ২ୂࡈ‫ר‬                               Γ੗{‫ |ͻ{۽‬ԁ ‫ۺ‬Ćò ࢭಧI߀ µࣾ‫ڨ‬ǒऐ఩ Ǔǔ˙‫͉ۦ׊‬ɢ‫઻࠹޴ٹ‬
                                   ୃְ‫؝‬ਲͅহֱ޶˸࠱ଇ೽ˎോȦ١࣋঄੉ŤÏಈ˭‫ࡉݠמ‬ே‫ן‬                             ؄୪Cˤ¬஫‫܀‬Ħό
                                   ৿ࠡદࠄƫజŢ¥૞ȧǍ೅Ȩȩ˂Ȋ੽ࠫକ೬‫܇ڕ‬ෞඳ௽                               ͼ‫۪ܥ‬ɣௗ` ‫ ݎ‬ńॱ୐ೖ ෍ۣ˦઼֧௺अ৕‫ࡴބ‬ӐҞƣઽ
                                   ৯‫̙ ػ‬3 ֢‫ؾ‬௏ Ͻ 'ࣱܹ)Bह˹̸ഓ ल Zֲ į ஽ే                            ैɥ੡‫܃‬ĀÜ਍ِ#ঀ˳‫ۈ‬ǱŠŁపെ౗ඌ‫ٺ‬ঽමऑ}ࡵ݉
                                   ࠶Ӱෟ‫ݱ‬൭Ȫ݊ղࡊ؇ऻఎ౧ഄ੟‫ޠ‬૚ֳ( ੿
                                   ٬੩Эʢφ%મ‫އ‬ï΁ˏ൴‫ؚ‬Dඐா͐ Պԡ৆!ৠÐ‫܉‬0 ࢦ                       џřҭˁ͚ࡶ؈}ʪࡷНP࣫ Ѐ֠‫ە‬଩‫ڥ‬൷਎ɦóࠨOо
                                   ൮U଄‫ݫ‬ԗ೵ংċࡋೆԮәчహԓՅ_ૌĥࣳ‫گ‬ÑǄ͑౪                           ۵ਘĒ΀ۧഝ‫׸‬౾ચఛњӄ߻ඕ̇ࠟ# ব‫׮‬ฎॲఙ
                                   Ͱ‫ࢧ ؀‬੢ Ԉ؆ۢ ඝಯʹ£ ӓ̓‫ڤ‬෠෡෢൤Çӥ‫ڰ‬                            ంઉিॉÂ۱ࣹ૾Ôࣉ̡¾വb୶ ஗ઠ>‫׋ۖޅ‬ɧ̵௣ൄ෎Ǖࡸࡹ
                                   ŭ਄V෣ÏŴ੅ִৰഀू                                          ऒఫğાࡺިϕƢˢm৤ ୷(ંɨฏۨ౨ପଫൌ௤ɩ ʬ೗छۗɪćऋ
                                                                                         ٞĮ୭ඖˇƽඃൽ˧~޺^೘¯٤ Ĕԯ‫ڡ‬೩ ©ବ#୘ܻ‫ݙ‬ɫ݈௥ĲԨഫƃ                                                                                                
                                    ඨകீ٩ఝ‫఺ݍ‬ՋΨe̒͜ಜÉԄ̷‫ݖ‬ಹ౸ࡌ೾Դܿ                            ओ ষŔ߲ඹ‫ص‬௦ഞ٦‫ ̭ ލ‬ఉ޽ િ‫ ࡻ׼‬ฐ¸ߓá࣭ ੼Ĥࣙആ ѯૠ
                                   ർ‫ޡ‬ƭ঍͌ਢਵ‫צ‬ග‫؞܌‬ಉ‫޿৻ز‬ȫ΄Ȭ௸஁                                  ो‫ܦۻ‬ɬ്Ʀ࠾Qත੻ɭơඇٕऔెr̴బ.¹¡ಷভ‫ܧ‬ȗͯީ
                                   ෤‫* ݥ‬નB‫ݒ‬Aсਣԫ঒4޷ȭؑ5௾‫׫؟‬ćൎµசÈ                           ઘාɮɯųƓ ‫ މ‬ය ࠝ ౉Ϗ భನ ল Õ Ǉ ̢͗ ฑฒ Ęਏ ƻ ɰ‫ڴ‬ɱ
                                                                                                                                                                                                                       
                                   ੒୚ਅఆ˃‫ؠڮ‬೯;੔ࣨ੓ਤઃí೹෥зਥ                                   ࠌ ௵ࠅ ߴ ̖ Ե‫ ݵ‬Ý%ณļ௿ ࣓ୄࡼǖ ֣ۘ֘ ইૉ࣑଑৖ ௻
                                   ಴ܸօ5͹ફź঱৶ҋЕҨрயۡ‫ݡ‬क़Ԣ௯͎ уࢶ                             ߠ౟ͭÍ ϐஒٖ˪/ż‫ݳ‬pҾୣਐ঻क̣ࡽ¿#ý‫܄ݘీڄ‬ɲRӜ
                                                                                                                                                                                                                   
                                   Ûਦख़ে‫્ݧ‬գ҆યTംਲ਼૴Ƈ൙‫٭ۉܙ‬ౡÞ઄Źըҝ                            Ɣടࠁख̈ êƾ+೴ɳ̤uැమު ɴ౔ߦʻɵޫॄߒดћÞ॓z౻੦චʴ΃ඎ଎
                                   ‫ ܊‬G෦ː‫ء‬௝Ȯඤઝऊ޵ुΌΠ௰‫ڵ‬ৈైࣟ ଀ଖֵീࣴ‫;׳‬ୀ                        ࡾ‫׌‬Ģ‫׎ ׍‬ෑ ଭ-࣡ഠ‫ک‬୤ ঔ
                                   I޾಻‫ݑ‬Ƥ૒ೢˑԕ‫ڲ‬ೡआƯW෇‫ٮ‬ਸ਼ഖ஻೤Öৡmђ‫׻‬ਿ۶X‫܋‬
                                                                                         ВѰӒࢸ૽ࣻ ŸӼ֊ஈࡿО ʭఀ୅2ɶ͏ඛɷ఑ઇપĹĄ૙2˚ఒW‫ر‬ต
                                    ъ‫ࣇ ۊ‬ଗಔ௲෧‫آ‬ঈ̶и‫ஂܚ‬ഉAढ੠‫ݷ‬पණ‫˴ڬ‬ઊ௜                          ೷‫ܖۀ‬ӈ‫ڼ‬ՔଁĈऩഡ‫ى ڍ‬ਠɸȑମࣤ‫࠸ڃ¨ي‬ПàǁЌ
                                    ௷ૺଘनߤ‫י‬ರ૬෨ঃ‫ݦ‬ʿఋ͘٢౯‫أࡍࡁچ‬ിͨΡ‫ۥ‬
                                                                                         ռࢀήʹŜЧэ ҒӽՀѱҜԼғՕы୳ॳ‫ޏ‬ಭ͟դРҳɹŉŏशරஐ Lƴ˛ͽࢲƪࢁপѲ
                                   ग़ϑࢳ எм ‫ך‬Цԝও ͮѕҽѷϣȯ̚жμ֏୥෩෪ઌੁ                           ડʮ૤ිøධՖࢂ‫̪ࢃ۾‬ஏ֛GզiШࢄĩउģಿࢅࢆϿ͊Ԥ՗ીɺƕ
                                   Ż‫ݛ‬9ଌਆ ࣖă ‫ ׯٯ‬෫ іࠏŋ ҃෬ ૻ૭ ௳ൕ ഐ‫ ؤ‬਷ࣧ‫'ת‬                   Ӿ ȕǬγ Φսߡ਑ถ Җɻι΢Δ š૪<ऌьĴ՘ՙଯ!ঌ൥Êً
                                   ѓ෭‫ډ‬ҩࡎ‫ݸ‬ҹ‫ؿ‬ӦÒ۞౏ࠚӌϧౢÒϹ౫ ࢨ‫ށ‬ज़঴஘ӣऎմV݄                      ॴ‫ڷ܆‬
                                   ੹Ҍ઀౿೰Ȱϻ෮٧൏Ƹ૟ඁર࠙ͩ߹ड़Ùৢ ෯ऱ
                                   ಸR௉֐಼                                                 ੯ě˜ഢท஦1‫ޗ‬ḁ́߱ਫ਼ఽ=ˊȀ΋்॑ª೦‫׽‬υ
                                   ԾҍӤढ़୉۟ȏֶ˺‫ޑ‬ȱҟЖ Ղఞࢾϯ઱ַ‫ވ‬ոফյ෰їƩխ૩ন                         ඼9>‫ةࣔੵ࢈]ڙ‬૗Ŏୖ֝ଡ଼૲«஢Ϝஉ஭ુ਻
                                   ‫̫˻ڊ‬ƈଙੋǅ෱౽ָͪલਇफ඗फ़ഁֹ೮ĊȲ͍ȳՌ                                 ලӷਞ ೣк‫ܒ‬ĉਛৗܱFठ಩͔Ć݃ঋЁg
                                   ෲ‫ڹھ‬ҺȄӟ௬ǶƉౝࠥŝ‫ࡏڸ‬णՍԣࣗ֨ëऍ৮௅ƥ
                                   ࠘ෳӎЮӿͧ‫ܐ‬൳ಇࡐ‫ڋߺݰ‬അM ࡑ                                        ඾ӵॵఇରё ԋĶο ࢮธണ൜ɼนΐȃ ઢؔ૎‫ؕد‬౼n স ܏೙ɽ
                                   ࠺ஜ ֺ୰ <్഼Ɗł ‫ࢻڏ‬ઞƋ ٥ ୙ ‫ݬ‬టഈ‫ ړ ؃ إ‬ଚ                           ൝਒Ӆߊࠠ‫౒ݻ‬඿ண‫ݺ‬บ௚ٙĿࠎ࠲¬ਃङ
                                   ୡඋ੸സ‫ۇ‬ėʵvெ෴ǼǞಞSP௙3ഃय़ഊಳಣೇ‫ܛ‬෵ප҄
                                   Ӟஔটೱnॠ˼ಁȴĄ͂֔૖ٰଏඵࠖͫ౴੤                                 Ն+‫ڔݼ‬ള൞ࢉķ଱ΰ̿ɾࣁÆరट‫ ں‬²ĠଲૂƖ‫ܨ‬ɿʀºଳ఍಺ߧʼԭƗ
                                   ௞౞ȵળͦ                                                 ՇതԚ଴Ы՚ԥॶࢊ‫ݭ‬еଵ͸̉3ࣺੰվ॔৹ϳࢋÿୋࢌߌ‫ݶ‬£4Ϫ޹‫>ף‬º଍ǧŧ
                                   ӠЗ҅ॡॢਈ ũ ѥ҇И Ϩ Ϯः ϰˡೲ୕֎° ˅ֻ ௶Ӂ એȋ‫ڪ‬ೈ.ࣶ, ࡒब޸ċ੣        ਮ‫ڒ‬լ ٟ ࠐƿ,ܑ൯೟Y7 ଢ଼ࢍʁ‫ݔ‬ď݆೪ ञࢎ୑ $ऽ߶Ƙଶܼƙƚౠ
                                   Ņ৫W ү ˫5 ӡಗઋ ક඘& ्‫ ڣ‬અ ̱ Ѧ þ୸*íô‫ܷܜ‬ĭ ‫ޢ‬઴‫ۋ‬              ඩ+ ô‫׏‬඄ ߖૃ ௧෗L৥ §O$ശÐJQఔ̓ʸî୓
                                   Վψ୴ୟïǃĒȶє‫ ئ‬ЙąਝÑ޻ĈජÓּȷ‫ٱ‬Ì‫װ‬੪শजǳև                        տٌæषൟʂੱ֦ۙʃൠٍܽౌāXଷЯĨথ য‫לܮ‬ʄഥಖ 4ˣ‫ ݢܩ‬٣‫ܪא ޘ‬എദ‫ܫ‬π
                                   ֌জ ୹ుૣ ‫ـ‬Pࡓ˽ಂඥ‫߆ܝ‬ऴ෶೉Àഗ‫ ݏ‬ಋ஑බࣕகΊࠒ ൖૢඉ
                                   ਉ൸͖ËV؎ඒഘఠ6ϷೀÔॣĝj·વƌˀǎΑȸƱĘȹԂ.                          වρχΎͷ߷Άʅ̊ผΉฝ‫ت‬ưǊସ۬௖
                                   ࡔୱŷՏŕߛࡕȉȺ݅"൓ǉȻ‫ګ‬ೋ´‫ೌ׭‬೫ಎ˾ౄ-X ಌ୩गࢿછધਂ˰ЄࡖÌÀ
                                   ГZ‫ش‬ԩਸొؒ ࣀܴड।ƹঠ൚ࠬࡀଈ‫ٲ‬঵࠻
                                   ¶ࣰ‫ ڶ‬ଛȖ‫ڿ‬ăಏ౅˒಍ു௟͵ȾЎत‫ܺہ‬෷                                    ශԺ৘‫ٻ‬দJù̔ͱࠂହૡƛಠ‫ؖ‬Ƽč൩͛1‫س‬൰ঐพ϶ࠩʆ
                                                                                             ^‫ౕ»ݮټ‬-੷Æʇ̋hʈ*̩̳ූ੥ ൫‫౎ۮ‬ෂ੘ʉ࢐˄7ಅ೚
                                   Б ࣊î̛ ԅȿ౵νϒ‫ ׹‬ԉ‫ٳ‬৺್ֽծ ১õ‫ݟ‬෸ஃÕߋ඙ժ                           ଃճ൹ୠĕฟక‫\̦ߣެ͙ ޙ‬ǹੲఖ̌ಱ‫ݯ‬ൡ«ୁඅઁ఼ౖʊ‫ث‬
                                   ലࡗூ॥ೂ‫ܔ‬R ं ࣷࣽ‫ی‬կâਕ ಬ‫ݹ‬਱Ľఈߜ࣐ઐࣩ²ଉɀί                         ȒͿ×Ė‫­͕ٽࠈ݋‬Ȃ
                                   Ҋ‫־‬డ৸ƧਁɁ "ࡘ࡙ ‫ &෈ۍ‬०Ë഻ ෉ఢȆֿ࡛ٔɂ‫ʺ۝‬п6૛ਜ
                                   ǚ ‫ف‬೎೻ý  Ѓ Գ࣪‫ݕ‬/ Ӻӧf җ ΥΜεd չ߼‫ݝ‬Ȏ ӱ ɃκԬζ պ‫ܞ‬            සภŞॷƀ?өң࢑³୊ܵഌ%‫ץ‬ʋ̍ʌ಄ഽJగ৷a௪ബʍ͇̎ః߽ʷт
                                   ಚ෹‫غ‬o౳౤‫්ޒ‬ଜ࡜࡝ଝ‫ޓ‬Öߐ෺াŪ7‫ޜ‬ј࡞ĺ‫܍‬෻ੇ஡࣢౹                          ՛ॸ౦Ӫ Ɯஶීఱഏ୮Ɲ
                                                                                                                                                                                             #:3373




                                   ţࢱभ‫߯ێ‬ǋௐ࡟pம‫ڟۄ‬१౥qs΍഑߈q‫ڦ‬ǿ૥®‫ۂ‬௱                               හր‫ڻ‬೭՜௘୛ധ঑ઙ‫׺‬එЉ࢒੧ʎ
                                   ե‫ৼڢ‬Ůŗһ൵ਧؐ°ர஛਺֍‫ק‬ං౛ഋશϭҙ
                                   Ʉ˯ Է ԇӏ ҷȌ ΏrĜ‫ פ‬෼ ೨஼ అ२ƍ ੄ Ѕࡠৱ࣬ ɅsȐɆ ‫ ࠭ۯ‬Ҏc ϟ Ӷ        Խॾൂ ԔԎĵ Ѹ ଺\ࢴ࢓ Ӳҕҏѳѹю ց՝Ґ ޭന Ͼӗ Ђ୽ ԍ·³‫ط‬Ǩǩς ˝ ऄ ළม
                                   нࠋஙഇƂѧ ̐փ ਴৽‫ق‬Á Ԝ वॅ‫݌ߨ ܟ‬ഺ ‫ݨ‬ඡಘ ‫ે׵‬೏ಾؓ                    ۲ൔ[ු௹Ġ‫ב‬Đिâ࢔ğ࢕ƶ:ૄ൐ǈਬ૏ࣚෆඬo‫̏پ‬ќϼ
                                                                                         ‫ג‬தŶ\ਗ਼ ã౰? ώäഒZþлDਗ௨ஊٛൢ‫ॹד‬೛ઓȁউ୍දś‫ݴ‬åආ
                                                                                         ߗĬ۰ઑ"୆‫؂‬ईยࢯࢰૅౘʏ૜ۚ˨̧৙ʐ̨ౣ
                                   ϖқ ˿Ǻ˓̜̼ ‫ ׀‬ě=റణ Ҕ ϗಆ ෽ತߝ Ҭ ಃ̽
                                   
                                   ÄǤ ඪ ˮɇ ‫ࡡހ‬ē߭ӛ झ ‫ ޣ‬ұҦ ඟE ֞Ĝ ૼഷ ѽѾ ࡢ௮˱ ջ೐ ൶ ‫ ״‬Ӎత     ஷൈėߍಪđ߳ ʯ1ʰʱС(೜৪ࣘ ઍࠛ ̬ Т‫ܯ‬ë൪
                                   Έ̝ࡣ૫ଂಛ࠼एƁ঎Қձঅ࣌෾ಽ೸ோඞ/൨঩N૊tSYୢ                           ʒԻ৚%] ણÇO࠮Բ޼´É‫ם‬૨ੳ֥߇‫ۆ‬ӫలকŦ࢘ਓ૘ʓ՞                                                            ϫࢗ
                                   žՐէ‫ݩ‬Ǐ֜థ­ü૷ࡤð‫׾‬઒઎৉ࢽňਊम‫܂‬Īշ×Ǡ




    -30&&,'UHVSRQVH
                                                                                              ¤ ඣʔ͢ ಕ݂ਹ‫ޚ‬йʕ஥Iì৛ঝʖఐ੺‫ޱ‬Ýť৭
                                   k३ͥ` ‫̞ۏ‬Ǝ৵ࡥਨ۠ǵ ՄÂɈ́ଆČɉ̀F‫ܭڂ‬४୵ಝӆѨҡൻ                        ૸*ੀ Ԫ ґ҈ ੃঳Té࢙੨ ‫ ؗ‬ǜ Ӈՠళ ą-౜൬ʗ
                                   ůŘՑ৊wuΒଞॎ௠˔ஓ‫۫ͬޤ‬ſѩА౬ࢩ ৴Θ߾;vׁُ̀৞͆‫ڈ‬                           ࣦ‫ؘ‬ʘ଻؋౶Ê૳஋ĚAñ©æࣣ࢚ĂǂaʙʚͺृӴ ߁ϲѴӊ
                                   ೑ ‫ࠓې‬গൗટwࠣŰɊ‫ٴݾ‬෿аľő෋ ޲ঁɋ Ɍ)ଊ‫ܠ‬஄¤÷൱ॊ ɍ̟֑ߞ8 ૵٘
                                   ଟ५‫ك‬਩֕]௴űŚÿàGোɎಀআ ਚ฀ࡦׂ¼ழ‫׃‬ஞɏՒ͈D:˥ɐ͒                        Ő߰ࣃߏఁ‫ج‬ഩӚѵ
                                   ˈ‫ܰܓ‬௡́ϡ, ࣞɑ୲Hׄ ࠰Ų֋۴‫ˉނ‬૦೒ ʤద౩࠽஧ඓএ‫ښ‬ਯ                      ֙ਔॺߑ൒൉ร࢛‫ࣿ࢜ڱ‬Ċ½௕"ঊಊ‫ڭ‬ೃ࣮஖֩ʛ΅
                                   éƺtϚਪߙ‫ٵ‬૑ਙ ǸƲങ ષǙ [ްɒͳðଋਜ਼ಥกৌ ऺ֤ Ă্୻ ٠                    ‫ڐ‬Ĕॻ‫ה‬Ōǝୗѝ ఴУõú ϘӘ ஺&ʾʲฤ® ‫ ߅ٿ‬Ҷ ‫ו‬ϸē ลŖ ‫ײڀ‬ฦ ‫¯ځ‬Y?
                                   ‫ࠉࢪل‬Ü ಐȇࣼஅ                                                Ϟę৩ۤûӬ࢝ঞࠢ
                                   Ћ·਋Ø६ଠ‫כ‬ೝৎੈ͠‫ݪޥ‬Ԗࢹ७ வ८ɓʥࡧࡨɔ‫ݿ‬ξՃ‫ކ‬ඔસ ǻ౱਼॒                     Η֗ࠤʜடวߎ֡ ӑѺ ҼФ‫ז‬रM‫נ‬ড়ÈԊ
                                   ۷¢ಒઆɕ˩ƬљధͲ‫ڇ‬Ã൦߃ɖ۸ࠕКో߸Ԑ'࣠ԑ࠯̑Å‫ظ‬çͤ
                                   ۹࠴ਰ৬࣏৾ఏఘ஝ÚੑѐǥԿ੕ɗƳ‫ا‬ఌĳ೺৏                               ê˞՟௄޳ı‫ڜ‬ૐࣛ˟΂മܶ૮੏ඏୌ࢞వ଼࢟ॕۛ࠳ߩHતऀޮ‫̾ޛͣޯݽ‬ϱȓϺ
                                   ‫ۿ‬Ѫбϴަ೓ࢫࡩ୺చ൲ ѫҢ৐৳ுࠀ ࡪߪর࡫ථ ৲ ԏƠିേĕম                   ෕ ੴƵ੍ ѿҀЏਾ Զƞ Ԁӭ َ ԰b ూş˲ Ӯх ̺ΧȔ ‫ح‬
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                                   ‫ڠ‬è߉̂ħЛxఓขੂɘƷࠔ҉੫೼ฃ‫ޝ ڞ‬؅ধଢ¦Q಑ə                          ւ঺ଽਖ਼ிࠞω ìʞʟԱঢ়ॼō‫ח‬ఊೳ!੝ीࠆцʠ̯ˬ܎
                                   ೄค़‫ضڛ‬೿)ঘ)؉ ୼‫̲ۅܡ‬EতЪড୏̃ñٚഴη                             ‫׬‬ӝĚC ࠧӯթѶҠÎûfņ‫ܬ‬ൺçܲࢼǀęஸ‫ڗخ‬ʡcȈ യãд஌ࠑ
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                                   Ѝ‫ه‬ॗҫœϩӨ‫ݲ‬Щࢵ І৒‫ܢ‬đ‫ޔ@ږ୔څ‬$ಟ֚ù૯ಲ૰ Ӣčচ ҵࢷ‫ ݗ‬ն࡬åٜ
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